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                                             ORDERED.


         Dated: April 09, 2019




                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

In re:
                                                               Case No. 8:17-bk-07782-MGW
SRQ TAXI MANAGEMENT, LLC,
                                                               Chapter 11
            Debtor.
_____________________________/

 ORDER FINALLY APPROVING DISCLOSURE STATEMENT AND CONFIRMING
  AMENDED PLAN OF REORGANIZATION OF SRQ TAXI MANAGEMENT, LLC
(Doc. No. 89, 93, 108, 119, 120, 123, 130, 133, 138, 145, 146, 148, 159, 161, 162, 172 and 174)

          THIS CASE came before the Court for hearing on December 12, 2018 at 10:00 a.m.,

January 8, 2019 at 10:30 a.m., January 15, 2019 at 1:30 p.m., January 18, 2019 at 1:30 p.m. and

for status conference on February 27, 2019 at 9:30 a.m. (collectively, the “Confirmation

Hearing”) to consider (a) final approval of the Disclosure Statement in Connection with Plan of

Reorganization of SRQ Taxi Management, LLC (Doc. No. 108) (the “Disclosure Statement”)

filed by SRQ Taxi Management, LLC (the “Debtor”); (b) confirmation of the Amended Plan of

Reorganization of Debtor (Doc. No. 138) (the “Amended Plan”)1 filed by the Debtor; (c) the

objections to confirmation filed by (i) Mills Paskert Divers (“MPD”) (Doc. No. 130) (the “MPD

Objection”), (ii) Sarasota Manatee Airport Authority (“SMAA”) (the “SMAA Objection”)

(Doc. No. 133) along with the Debtor’s Response to SMAA Objection (Doc. No. 146) and (iii)

1
 All capitalized terms not specifically defined herein shall have the same meaning ascribed to them in the Amended
Plan.

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Diplomat Airport Transportation, Inc. (“Diplomat”) (Doc. No. 159) (the “Diplomat

Objection”); (d) Motion for Relief From Stay (Doc. No. 89) (“SMAA Motion for Relief”) filed

by SMAA along with the Debtor’s Response in Opposition to SMAA Motion for Relief (Doc. No.

93); (e) SMAA’s Amended Motion for Allowance of Administrative Concession Claim (together,

“SMAA Administrative Expense Motions”) (Doc. 119 and 120) filed by SMAA along with the

Debtor’s Omnibus Objection to (1) SMAA Administrative Expense Motions and (2) Claim Nos.

27 and 33 (Doc. No. 123); (f) Debtor’s Amended Motion to Allow Late Filed Ballots (Doc. No.

148) (“Ballot Motion”) filed by the Debtor; (g) Debtor’s Motion for Cramdown (Doc. No. 145)

(the “Cramdown Motion”) filed by the Debtor; (h) Debtor’s Amended Omnibus Objection to

Claims Filed by Diplomat (Doc. No. 161) (“Objection to Diplomat Claim”) filed by the Debtor

along with Diplomat’s Response to Objection to Diplomat Claim (Doc. No. 172); and, (i)

Debtor’s Motion to Estimate Claims Filed by Diplomat (Doc. No. 162) (“Motion to Estimate”)

filed by the Debtor along with the Debtor’s Declaration of Bart A. Houston in Support of

Debtor’s Motion to Estimate (Doc. No. 174) (“Diplomat Declaration”). Appearances were

made as reflected on the record.

        After considering the (a) Disclosure Statement; (b) Certificate of Service (Doc. No. 115)

(the “Solicitation Package”); (c) Amended Plan; (d) Declaration of Cullan F. Meathe in

Support of Confirmation of Chapter 11 Plan (Doc. No. 139) (the “Meathe Declaration”); (e)

Declaration of Bart A. Houston in Support of Confirmation of Chapter 11 Plan (Doc. No. 140)

(the “Houston Declaration”); (f) Second Amended Ballot Tabulation (Doc. No. 147) as

modified on the record at the Confirmation Hearing (the “Ballot Tabulation”); (g) Ballot

Motion; (h) arguments and proffers of counsel made at the Confirmation Hearing, (i) the

modifications announced on the records; and, (j) the entire record in this chapter 11 case, and for




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the reasons stated orally and recorded in open court that shall constitute the conclusions of law,

findings of fact and rulings as if specifically incorporated by the Court, the Court concludes and

finds that the Amended Plan has been proposed in good faith and meets all of the requirements

for confirmation under Section 1126 and 1129 of the Bankruptcy Code, is fair and equitable, and

does not discriminate unfairly with respect to each class of claims or interests, the Disclosure

Statement contains adequate information as contemplated under Section 1125 of the Bankruptcy

Code and should be finally approved pursuant to the following findings of fact and conclusions

of law.

          FINDINGS OF FACT AND CONCLUSIONS OF LAW

          A.       The Court has jurisdiction over this chapter 11 case under 28 U.S.C. §§ 157 and

1334. This matter constitutes a core proceeding under 28 U.S.C. § 157(b)(2). Venue in this

Court is proper under 28 U.S.C. §§ 1408 and 1409.

          B.       The Solicitation Package containing the Plan of Reorganization of Debtor (Doc.

No. 107) (the “Plan”); Disclosure Statement; Order Conditionally Approving Disclosure

Statement, Fixing Time to File Objections to Disclosure Statement, Fixing Time to File

Applications for Administrative Expenses, Setting Hearing on Confirmation of the Plan, and

Setting Deadlines with Respect to Confirmation Hearing (Doc. No. 110) (the “Disclosure

Statement Order”); and a ballot for accepting or rejecting the Plan was served on all creditors

and parties-in-interest. The Court finds that (a) timely and proper notice of the Confirmation

Hearing, the time fixed for filing objections to confirmation, and the time for submitting ballots

on the Amended Plan were provided to all creditors and all parties in interest, (b) such notice

was adequate and sufficient to notify all creditors and all parties in interest of the Confirmation

Hearing and the objection and voting deadlines as to the Amended Plan, (c) such notice complied




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in all respects with the procedural orders of this Court, the Bankruptcy Code, the Bankruptcy

Rules and otherwise satisfied due process, and (d) the modifications in the Amended Plan or

announced in open court do not require additional disclosure under Section 1125 of the

Bankruptcy Code nor re-solicitation of votes under Section 1126 of the Bankruptcy Code.

        C.         The Debtor and its attorneys have solicited votes to accept or reject the Amended

Plan in good faith and in compliance with the applicable provisions of the Bankruptcy Code,

Bankruptcy Rules, and Disclosure Statement Order, and are, therefore, entitled to the protections

afforded by Section 1125(e) of the Bankruptcy Code.

        D.         The Ballot Tabulation as filed on December 12, 2018 reflects Classes 1, 2, 5 and 7

are unimpaired and therefore deemed to have accepted the Amended Plan; and, Classes 3 and 4

are impaired but affirmatively voted for the Amended Plan. As reflected by the subsequent

record Class 6 is impaired and has now affirmatively voted for the Amended Plan and Class 8 is

unimpaired and therefore deemed to have accepted the Amended Plan. Therefore, the Ballot

Tabulation reflects the acceptance in both number and dollar amount of votes with respect to

each impaired Class that voted on the Plan.

        E.         The Amended Plan satisfies all of the requirements of Section 1129 of the

Bankruptcy Code.         The Court specifically finds that (a) the Amended Plan rationally and

properly classifies the claims, clearly delineates between impaired and unimpaired classes and

similarly treats claims within a particular class to comply with Section 1129(a)(1); (b) the

Debtor has complied with applicable provisions of the Bankruptcy Code as a debtor in

possession, employment, property and monthly operating reports under Section 1129(a)(2); (c)

the Amended Plan was proposed in good faith as referenced under Section 1129(a)(3); (d) the

Debtor has properly disclosed all payments made or to be made to its professionals under Section




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1129(a)(4); (e) the Debtor has properly disclosed the identities and affiliations of the individuals

proposed to serve in the Debtor’s management after confirmation of the Amended Plan under

Section 1129(a)(5); (f) the Amended Plan does not contemplate any rate change with respect to

any rate surcharge that is subject to the jurisdiction of any regulatory commissions under Section

1129(a)(6); (g) the Amended Plan is in the best interest of creditors as determined in part by the

liquidation analysis attached to the Disclosure Statement referenced under Section 1129(a)(7);

(h) as discussed above, all classes have accepted the Amended Plan or are unimpaired under

Section 1129(a)(8); (i) the Amended Plan complies with the requirements under Section

1129(a)(9) including the requirements of 1129(a)(9)(A) with respect to claims of the kind

specified in Section 507(a)(2) in that all such claims have been paid or will be paid on the

Effective Date or the holder of such claim has otherwise agreed to different treatment, including

the allowed administrative expense of the Jennis Law Firm (“Jennis Law”), as allowed and

authorized for payment pursuant to this Court’s Order Approving Jennis Law Firm’s Final

Application and Supplement for Compensation and Reimbursement of Expenses as Counsel for

Debtor (Doc. No. 179), of which Jennis Law has been paid $65,000.00, the remainder of

$23,110.32 shall be paid to Jennis Law within 60 days of the Effective Date; (j) at least one class

of impaired claims has accepted the Amended Plan determined without including any acceptance

of the Amended Plan by any insider under Section 1129(a)(10); (k) the Amended Plan is feasible

as referenced under Section 1129(a)(11); (l) all fees assessed and payable under 28 U.S.C. §

1930 have been paid or will be paid upon the Effective Date under Section 1129(a)(12); (m)

there are no retiree benefits to be paid after the Effective Date under Section 1129(a)(13); (n) the

Debtor is not required to pay any domestic support obligations and therefore is compliant with

Section 1129(a)(14); (o) the Debtor is not an individual and therefore is compliant with Section




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1129(a)(15); (p) the Amended Plan does not contemplate the transfer of any property and

therefore is compliant with Section 1129(a)(16); (q) that the Amended Plan does not violate the

absolute priority rule of Section 1129(b) because of the new value exception; and, (r) the

Amended Plan is the only plan being confirmed by this Court under Section 1129(c).

        F.         The principal purpose of the Amended Plan is not for the avoidance of taxes or

the avoidance of the application of Section 5 of the Securities Act of 1933, and there has been no

objection filed by any governmental unit asserting such avoidance. Accordingly, the Amended

Plan complies with Section 1129(d) of the Bankruptcy Code.

        G.         In open court at the Confirmation Hearing or through the submission of this

Order, counsel for the Debtor announced the following modifications that shall, through this

order be incorporated into the Amended Plan:

                   1.     The Debtor added Class 8 constituting an administrative convenience class

of any Allowed Unsecured Claim that is in an amount of $1,000.00 or less, estimated to be

$1,000.00, who are unimpaired and whose Claims are to be paid in full on the Effective Date.

                   2.     Trinity Trust Holdings, LLC (“Trinity”) will increase the amount of its

proposed capital infusion from $96,000.00 to $124,000.00 or such other amount to otherwise pay

all administrative expense and disbursements on other claims to be made on the Effective Date.

                   3.     The allowed administrative expense of Jennis Law in the amount of

$88,110.32 (the “Jennis Law Claim”) as provided in this Court’s Order Approving Jennis Law

Firm’s Final Application and Supplement for Compensation and Reimbursement of Expenses as

Counsel for Debtor (Doc. No. 179) shall be paid pursuant to the agreement between the Debtor,

Jennis Law, and Trinity, whereby Jennis Law has been paid $65,000.00 on account of the Jennis




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Law Claim prior to the Effective Date with the remainder of the Jennis Law Claim to be paid on

or before 60 days from the Effective Date.

        H.         Furthermore, at the Confirmation Hearing the Purchase and Sale Agreement (the

“PSA”) between Diplomat and Trinity was introduced into the record. Pursuant to the PSA,

Trinity agrees to purchase the unsecured claims and equity interest of Diplomat for the aggregate

amount of $30,000.00 (the “Settlement”). At the Confirmation Hearing counsel for the Debtor

and Diplomat announced that all conditions precedent to the Settlement have been fulfilled; and,

thereupon Diplomat withdrew its objections to confirmation and rejecting ballot in open court.

The Court finds that no further disclosure is necessary; and, that the PSA will have no material

effect on any of the other creditors. Lastly, the Court evaluated the Settlement in light of the

compromise factors depicted in In re Justice Oaks IL Ltd., 898 F.2d 1544 (11th Cir. 1990), cert

denied 498 U.S. 959 (1990) and finds that the time, expense and other resources that would be

allocated to the continued prosecution of the contested matters and the expenses associated with

litigated the contested matter outweigh any potential benefit to the Debtor’s estate.

        I.         Where appropriate, a finding of fact shall be considered a conclusion of law and a

conclusion of law shall be considered a finding of fact; all of which shall be incorporated into

this Order’s ruling.

        ACCORDINGLY, BASED ON THE FOREGOING FINDINGS OF FACT AND

CONCLUSIONS OF LAW, AND ON THE FULL RECORD OF THE BANKRUPTCY

CASE, THE COURT HEREBY CONCLUDES, DECREES, FINDS AND ORDERS AS

FOLLOWS:

        1.         Final Approval of Disclosure Statement. The Disclosure Statement complies

with Section 1125 of the Bankruptcy Code and is hereby finally APPROVED as containing




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adequate information – including but not limited to adequately detailing the risks involved -

within the meaning of Section 1125 of the Bankruptcy Code.

        2.         Confirmation of Plan. The Amended Plan is hereby CONFIRMED pursuant to

Section 1129(a) of the Bankruptcy Code, with the modifications which shall become part of the

Amended Plan and this Confirmation Order.

                   A.    Binding Effect. All terms of the Amended Plan as modified by this

Order, and all necessary and relevant documents, are effective and binding upon the entry of this

Order and the Effective Date. The failure to reference or discuss any particular provision of the

Amended Plan in this Order shall have no effect on the Court’s approval and authorization of, or

the validity, binding effect and enforceability of such provision and each provision is authorized

and approved and shall have the same validity, binding effect, and enforceability as every other

provision of the Amended Plan, whether or not mentioned in this Order.

                   B.    Burden of Proof. The Debtor has met its burden of proving all of the

elements of Section 1129(a) of the Bankruptcy Code.

                   C.    Effectuating Documents. The Reorganized Debtor is authorized to

execute, deliver, file or record such contracts, instruments, releases and other agreements or

documents and take such actions as may be necessary or appropriate to effectuate, implement

and further evidence the terms and conditions of the Amended Plan as modified herein.

                   D.    Executory Contracts and Unexpired Leases.         The          purported

employment contract with Diplomat and/or Jorge J. Resendiz is hereby rejected. Pursuant to the

Settlement no further claim is necessary. Except as otherwise provided by this confirmation

order or other orders entered regarding the assumption or rejection of executory contracts or

unexpired leases, all other contracts not otherwise identified are deemed assumed as




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contemplated in Article 7.1 of the Amended Plan including but not limited to the assumption of

the Concession Agreement On-Demand Metered Taxicab & Non-Metered Limousine Service

(“Concession Agreement”).

                   E.   Final Fee Applications. To the extent any professional seeking an award

of compensation for services rendered or reimbursement of expenses incurred through and

including the date of the Confirmation Hearing in excess of any amounts estimated in any

previously filed application, such professional shall file its respective application for allowance

of compensation for services rendered and reimbursement of expenses incurred by the date that

is twenty-one (21) days from the date of entry of this Confirmation Order.

                   F.   Jurisdiction and Venue. This Court has jurisdiction over the Debtor; the

Debtor’s chapter 11 case; all of the Debtor’s property, contracts, and assets, wherever located; all

claims against and equity interests in the Debtor; and all holders of claims against and equity

interests in the Debtor pursuant to 28 U.S.C. § 1334. Confirmation of the Amended Plan as

modified herein and approval of the Disclosure Statement is a “core proceeding” pursuant to,

without limitation, 28 U.S.C. § 157(b)(2)(A), (L), and (O), and this Court has jurisdiction to

enter a final order with respect to confirmation. Venue is proper before this Court pursuant to 28

U.S.C. §§ 1408 and 1409.

                   G.   Modifications. All modifications announced in open court are hereby

approved.

                   H.   Objections.   All other objections that could have been made to the

Amended Plan but were not are hereby overruled in all respects.

                   I.   Preservation of Causes of Action. All causes of action and objections to

claims not specifically resolved or released through separate order of this Court are to be retained




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by the Reorganized Debtor and preserved to the full extent provided in the Amended Plan. The

deadline for the Reorganized Debtor to file any objections to claims or initiate any adversary

proceedings shall be sixty (60) days from the entry of the Confirmation Order.

                   J.    Retention of Jurisdiction. The Court’s retention of jurisdiction as set

forth in Article 8 of the Amended Plan comports with the parameters contained in 28 U.S.C. §

157 and is to be interpreted as broadly as possible.

         3.        Objections. The MPD Objection has been WITHDRAWN (Doc. No. 178). The

SMAA Objection has been WITHDRAWN.                         The Diplomat Objection has been

WITHDRAWN.

         4.        SMAA Motion for Relief. The SMAA Motion for Relief is hereby DENIED as

moot.

         5.        SMAA Administrative Expense Motions. SMAA’s Administrative Expense

Motions are hereby DENIED as moot by the assumption of the Concession Agreement as

provided in the Plan and payment of the $15,633.96 cure amount. All claims for attorneys’ fees

and costs by the Debtor and SMAA related to the Airport Litigation - including but not limited to

amounts, basis and entitlement - shall be determined and obligation to pay shall be settled by a

final judgment or order in said Airport Litigation. This provision is without prejudice to the

Debtor’s arguments, defenses or objections to the SMAA’s attorneys’ fees being granted

administrative expense status.

         6.        Ballot Motion. The Ballot Motion is hereby GRANTED.

         7.        Cramdown Motion. The Cramdown Motion has been WITHDRAWN in open

court.




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        8.         Objection to Diplomat Claim. The Objection to Diplomat Claim is hereby

SUSTAINED IN PART AND OVERRULLED IN PART. In accordance with the Settlement,

Diplomat shall be entitled to an Allowed Unsecured Claim in the amount of $173,750.00 which

is hereby assigned to Trinity.

        9.         Motion to Estimate. The Motion to Estimate is hereby DENIED as moot.

        10.        Status Conference.    The Court will conduct a post confirmation status

conference in this chapter 11 case on May 29, 2019, at 9:30 a.m.


Attorney Daniel E. Etlinger is directed to serve a copy of this order on all interested parties who
are non-CM/ECF users and to file a proof of service within 3 days of entry of the order.




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